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IN THE CIRCUIT COURT OF THE
SECOND JUDICIAL CIRCUIT IN
AND FOR LEON COUNTY, FLORIDA

BOB MCBEE,

Plaintiff, Case No. 12-CA- “1l3te Re i C - | Vl = t)
MAR 29 2012

Office of the General Counse!
Florida A&M University

VS.

BOARD OF TRUSTEES, FLORIDA

A & M UNIVERSITY, Summons
Defendant. CERTIFIED PROCESS SERVER &_ OSA
/ SECOND JUDICIAL CIRCUIT GOURT OF FLORID

parE SERVED BAGEL, te“ (S Lae

THE STATE OF FLORIDA:
To Each Sheriff of the State:

YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition
in this action on Defendant:

FLORIDA A & M UNIVERSITY BOARD OF TRUSTEES, a public body corporate
c/o Dr. James H. Ammons, Corporate Secretary of the Board of Trustees

— Office-of-the-President,Florida-A-&M University——_——-— — ————

400 Lee Hall
Tallahassee, FL 32307

Each defendant is required to serve written defenses to the complaint or petition on Marie
A. Mattox, P. A., Plaintiff's attorney, whose address is 310 East Bradford Road, Tallahassee, FL
32303, within 20 days after service of this summons on that defendant, exclusive of the day of
service, and to file the original of the defenses with the clerk of this court, either before serve on
plaintiff s attorney or immediately thereafter. Ifa defendant fails to do so, a default will be entered
against that defendant for the relief demanded in the complaint or petition.

DATED on

EXHIBIT

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IN THE CIRCUIT COURT OF THE
SECOND JUDICIAL CIRCUIT, IN
AND FOR LEON COUNTY, FLORIDA

BOB MCBEE, CASENO. 12-CA- 2G 2B
FLA BAR NO. 0739685 225; 33° 3°!
Plaintiff, 360 1 So
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VS. Sp Eee
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BOARD OF TRUSTEES, FLORIDA 35 2
A & M UNIVERSITY, =
Defendant.
/
COMPLAINT

Plaintiff, BOB MCBEE, hereby sues Defendant, BOARD OF TRUSTEES, FLORIDA A &
M UNIVERSITY, and says:

- NATURE OF THE ACTION
1.

This is an action brought under 42 U.S.C. §2000e et seg., Chapter 760, Florida
Statutes, and 42 U.S.C. §1981.

2. This is an action involving claims which are, individually, in excess of Fifteen

Thousand Dollars ($15,000.00), exclusive of costs and interest.

THE PARTIES

3. Atall times pertinent hereto, Plaintiff, BOB MCBEE, has been a resident of the State

of Florida and was employed by Defendant. Plaintiff is a member of a protected class due to his

race, white, and his age, over 40.

4, At all times pertinent hereto, Defendant, BOARD OF TRUSTEES, FLORIDA A &

M UNIVERSITY, has been organized and existing under the laws of the State of Florida. At all
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times pertinent to this action, Defendant has been an "employer" as that term is used under the
applicable laws identified above.

5. Plaintiff has satisfied all conditions precedent to bringing this action, or such
conditions have been waived, or there are no conditions precedent.

STATEMENT OF THE ULTIMATE FACTS

6. Plaintiff, a white male, was denied employment with Defendant due to his race and
age, as a less qualified younger African Aerie male, Derrick Horne, was hired for the position
of Athletic Director in August 1, 2010. Horne is approximately 18 years younger than Plaintiff

7. Plaintiff, in addition to serving at Defendant, has an outstanding and long history of

accomplishments and experiences that made him the best qualified candidate for the Athletic
Director position, including his work as Director of Athletics at the State University of New York
at Cortland; as Director of Athletics and Associate Professor of Sociology/Criminal Justice at

Midwestern State University; as Director of Athletics at Eastern Illinois University; as Director of

Athletics and Associate Professor of Sport Administration at Robert Morris College; as Chairman
and Associate Professor of Sport Management at Robert Morris College; as Director of Operations
at the U.S. Olympic Festival; at North Carolina Amateur Sports, Inc.; as the Head Baseball Coach
and Assistant Professor of Sociology at Elon College; and as the Women s Basketball Coach and
Assistant Baseball Coach at the University of Southern Mississippi. He has also had experience in
baseball minor league management and coaching. He holds a doctorate in Secondary Education and
Sociology and a Master of Science degree in Secondary Education and Social Studies from the
University of Southern Mississippi; a Master of Science degree in Education Administration from

North Carolina A&T State University; and a Bachelor of Arts degree in History and Political Science
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from Presbyterian College. He has also completed the Management Development Program at
Harvard University. Horne has less depth and breadth of experience, and has fewer years of
experience.

8. Plaintiff has retained the undersigned to represent Plaintiffs interests in this cause
and is obligated to pay a fee for services. Defendant should be made to pay said fee under 42 U.S.C.
§2000e et seq. and the Florida Civil Rights Act, Chapter 760, Florida Statutes.

COUNT I
RACE DISCRIMINATION

9, Paragraphs 1 through 8 are realleged and incorporated herein by reference.

10. This is an action against Defendarit for discrimination based upon race brought under
42 U.S.C. §2000e et seq., and Chapter 760 Florida Statutes.

11. _ Plaintiffhas been the victim of discrimination on the basis of Plaintiff's race in that

Plaintiff was treated differently than similarly situated non-black employees of Defendant and has

been subject to hostility and poor treatment on the basis, at least in part, of Plaintiff's race.

12. Defendant is liable for the differential treatment of Plaintiff because it controlled the
actions and inactions of the persons making decisions affecting Plaintiff or it knew or should have
known of these actions and inactions and failed to take prompt and adequate remedial action or took
no action at all to prevent the abuses to Plaintiff.

13. Inessence, the actions ofagents of Defendant, which were each condoned and ratified
by Defendant, were of a race based nature and in violation of the laws set forth herein.

14. The discrimination complained of herein affected a term, condition, or privilege of

Plaintiff's continued employment with Defendant. The events set forth herein lead, at least in part,
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to adverse employment action being taken against Plaintiff and/or his nonselection for the post
described.

15. Defendant's conduct and omissions constitutes intentional discrimination and
unlawful employment practices based upon race in violation of 42 U.S.C. §2000e et seq. and Chapter
760, Florida Statutes.

16. Asadirect and proximate result of Defendant's conduct described above, Plaintiffhas
suffered emotional distress, mental pain and suffering, past and future pecuniary losses,
inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary losses, along with
lost back and front pay, interest on pay, bonuses, and other benefits. These damages have occurred
in the past, are permanent and continuing.

COUNT IT
AGE DISCRIMINATION

17, Paragraphs | though 8 are realleged and incorporated herein by reference.

18. This is an action against Defendant for discrimination based upon age brought under
the Florida Civil Rights Act.

19. Plaintiff has been the victim of discrimination on the basis of Plaintiff's age in that
Plaintiff was treated differently than similarly situated younger employees of Defendant. Specifically
and by example, a younger less qualified person of another race was chosen to fill a position for

which Plaintiff was better qualified.
20. Defendant is liable for the differential treatment of Plaintiff because it controlled the

actions and inactions of the persons making decisions affecting Plaintiff or it knew or should have
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known of these actions and inactions and failed to take prompt and adequate remedial action or took
no action at all to prevent the abuses to Plaintiff.

21. — Inessence, the actions ofagents of Defendant, which were each condoned and ratified
by Defendant, were of an age-based nature and in violation of the laws set forth herein,

22. The discrimination complained of herein affected a term, condition, or privilege of
Plaintiff's continued employment with Defendant.

23. Defendant's conduct and omissions constitutes intentional discrimination and
unlawful employment practices based upon age in violation of the Florida Civil Rights Act.

24. Asadirect and proximate result of Defendant's conduct described above, Plaintiffhas
suffered emotional distress, mental pain and suffering, past and future pecuniary losses,
inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary losses, along with
lost back and front pay, interest on pay, bonuses, and other benefits. These damages have occurred

in the past, are permanent and continuing.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for the following relief:

(a) that process issue and this Court take jurisdiction over this case;

(b) that this Court grant all legal and equitable relief against Defendant under the
applicable counts set forth above, mandating Defendant's obedience to the laws enumerated herein
and providing other equitable relief to Plaintiff:

(c) enter judgment against Defendant and for Plaintiff awarding damages to

Plaintiff from Defendant for Defendant's violations of law enumerated herein;
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(d) enter judgment against Defendant and for Plaintiff permanently enjoining
Defendant from future violations of law enumerated herein;
(e) enter judgment against Defendant and for Plaintiff awarding Plaintiff
attorney's fees and costs; and
(f) grant such other further relief'as being just and proper under the circumstances
DEMAND FOR TRIAL BY JURY
Plaintiff hereby demands a trial by jury on all issues set forth herein which are so triable.
Dated this Y_ day of March, 2012.

Respectfully submitted,

/|

Marie A. Mattox [FBN 0739685]
MARIE A. MATTOX, P.A.
310 East Bradford Road

Tallahassee, FL323 03.

Telephone: (850) 383-4800
Facsimile: (850) 383-4801

ATTORNEYS FOR PLAINTIFF
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)

To: Robert McBee

7724 Manini Way
Diamondhead, MS 39525

From: Tampa Field Office
501 East Polk Street
. Room 1000

Tampa, FL 33602

On behalf af person(s) aggrieved whose idantity Is
__ CONFIDENTIAL (28 CFR §1601.7(a})

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EEOC Chargo No. EEOC Representative Telephone No,
‘ David Hamilton,
§10-2011-01438 investigator (813) 202-7960

(See also the additianal infarmatinn enclosad with this form.)

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NOTICE TO THE PERSON AGGRIEVED;
Tile VUl of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA); This is your Notice of Right to Sue, issusd, under Title Vi, the ADA or GINA based on the above-numbered charge, It has

been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be filed in @ federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based ona claim under

state law may be different.)
‘More than 180 days have passed since the filing of this charge.
Less than 180 days have passed since the filing of this charge, but rhave determined that it is untikely thatthe EEOC will
be able-to complete its administrative processing within 180 days from the filing of this charge.
The EEOC is terminating ifs processing of this charge,

The EEOC will continue to pracess this charge.

Age Discrimination In Employment Act {APEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
30 days after you receive notice that wa have completed action on the charge. ‘In this regard, the Paragraph marked below applies to
your caea: ,

90-DAYS Of your racelpt Of tits Natice. Otherwise, your right to sue based an the above-numbered charge will be lost,

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The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing ofthe charge,

YOU may file suit in faderal or stata court under the ADEA at this time.

‘you tile suit; based on this charge, please send a, copy of.your court complaint to this: office.

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‘On behalf of the Commission

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed _in federal_or-state.court. WITHIN

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Director :
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MARIE A MATTOXP.A.
310 E Bradford Rd
Tallahagsaes, FL 32403

Human Resources Director
FLORIDA A&M UNIVERSITY
1835 Wahnish Way

’ Tallahassee, FL 32310
